CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 1 of 7
CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 2 of 7
CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 3 of 7
CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 4 of 7
CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 5 of 7
CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 6 of 7
CASE 0:19-cv-00184-SRN-TNL Document 1-1 Filed 01/25/19 Page 7 of 7
